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                                          No. 22-1409

                    In the United States Court of Appeals
                            for the Tenth Circuit
          ALEJANDRO MENOCAL, MARCOS BRAMBILA, LOURDES ARGUETA, HUGO
        HERNANDEZ, GRIZEL XAHUENTITLA, JESUS GAYTAN, OLGA ALEXAKLINA, AND
                              DEMETRIO VALERGA,
                                Plaintiffs-Appellees,
                                                v.

                                    THE GEO GROUP, INC.,
                                      Defendant-Appellant.

                        On Appeal from the United States District Court,
                   for the District of Colorado (Denver) (Hon. John L. Kane)
                                   No. 1:14-cv-02887-JLK-MEH

        PLAINTIFFS-APPELLEES’ MOTION TO FILE A PROVISIONALLY
           SEALED VOLUME OF THE SUPPLEMENTAL APPENDIX

            Plaintiffs-Appellees respectfully request that this Court permit them to file a

      volume of their supplemental appendix provisionally under seal.

            1.     The district court entered a protective order in this case, Alejandro

      Menocal et al., v. The GEO Group, Inc., Case No. 1:14-cv02887-JLK (D. Col. Nov. 26,

      2018) (Dkt. No. 157).

            2.     The Plaintiffs-Appellees’ supplemental appendix contains some

      documents that were filed under seal in the district court. These documents are:

      contracts between GEO and ICE, GEO’s detainee work plans, and ICE’s National

      Detainee Handbook, the latter of which, though filed in the district court under seal,

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      is      publicly       available       at        https://www.ice.gov/detain/detention-

      management/national-detainee-handbook.

             3.     The Plaintiffs-Appellees do not believe that any of these documents

      satisfy the requirements of Circuit Rule 25.6. But because the documents were filed

      under seal in the district court, they have notified both the Defendant-Appellant and

      the United States that they are filing them with this Court. The Plaintiffs-Appellees

      request that this Court file the volume of the supplemental index containing these

      documents provisionally under seal to allow the Defendant-Appellant and the

      United States an opportunity to notify this Court if they believe that the requirements

      of Circuit Rule 25.6 are satisfied, and, if so, to establish that.



      March 24, 2023                                    Respectfully submitted,

                                                        /S/ Jennifer D. Bennett
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                           CERTIFICATE OF COMPLIANCE

         This motion complies with the type-volume limitations of Fed. R. App. P.

      27(d)(2)(A) because it contains 201 words. This motion complies with the typeface

      requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R.

      App. P. 32(a)(6) because this motion has been prepared in a proportionally spaced

      typeface using Microsoft Word in 14-point Baskerville font.

                                                   /s/ Jennifer D. Bennett
                                                   Jennifer D. Bennett




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                               CERTIFICATE OF SERVICE

         I hereby certify that on March 24, 2023, I electronically filed the foregoing

      appendix with Clerk of the Court for the U.S. Court of Appeals for the Tenth Circuit

      by using the CM/ECF system. All participants are registered CM/ECF users and

      will be served by the CM/ECF system.

                                                   /s/ Jennifer D. Bennett
                                                   Jennifer D. Bennett




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